                              Summary Reentry Plan - Progress Report                                                  SEQUENCE: 00428359
                                 Dept. of Justice / Federal Bureau of Prisons                                    Report Date: 01-31-2024
                     Other - Court Request Report for inmate: MARTIN, JOHNNIE 25238-038

                                   Facility:     POL POLLOCK USP                             Custody Level: IN
                                    Name:        MARTIN, JOHNNIE                             Security Level: HIGH
                              Register No.:      25238-038                                   Proj. Rel Date: 06-18-2058
                                 Quarters:       B03-315U                                  Release Method: GOOD
                                      Age:       47                                   DNA Status: BRO02297 / 05-30-2011
                              Date of Birth:     11-01-1976



Offenses and Sentences Imposed
Charge                                                                                                    Terms In Effect
21:846,841(A)(1)&21:841(B)(1)(A) CONSP TO DISTR & PWITD COC HYDRCHLRD,COC                                 360 MONTHS
BASE,MJ, & ECSTASY(CT1);21:841(A)(1)&(B)(1)(D) PWITD MJ(CT3);18:922(G)(1)&(A)(2) FELN
IN POSS F/A(CT5);21:861 EMPLYMNT OF MINR TO VIOLDRG
LW(CT6);18:1956(H)(A)(1)(A)(I)(A) (1)(B)(I) CONSP TO COMMIT MONEY
18:924(C)(1)(A)(I)& 2 AIDED AND ABETTED BY ANOTHER THE POSSESSION OF A FIREARM                            60 MONTHS
IN FURTHERANCE OF A DRUG TRAFFICKING CRIME(CT2)
18:924(C)(1)(C)(I) & 2 AIDED AND ABETTED BY ANOTHER POSSESSION OF A FIREARM IN                            300 MONTHS
FURTHERANCE OF A DRUG TRAFFICKING CRIME(CT4)

Date Sentence Computation Began: 04-19-2011
Sentencing District: TENNESSEE, EASTERN DISTRICT
Days FSGT / WSGT / DGCT               Days GCT or EGT / SGT          Time Served                        + Jail Credit - InOp Time
      0 /    0 /    0                    864                         Years: 16 Months: 8 Days:          + 1447     JC - 0     InOp

Detainers
Detaining Agency                                        Remarks
NO DETAINER

Program Plans
Mr. Martin arrived at FCC Pollock (USP) on November 5, 2020. At his initial classification, Mr. Martin was recommended to complete all six core topics
of the Release Preparation Program (RPP) prior to release from custody. Mr. Martin has also been recommended to complete all ACE and First Step
Act classes offered at FCC Pollock (USP). He is encouraged to apply for employment to assist with his release and other financial obligations.


Current FSA Assignments
Assignment          Description                                                          Start
FTC INELIG                    FTC-INELIGIBLE-REVIEWED                                    04-09-2021
INELIG AUT                    FTC-INELIGIBLE OFF CODE - AUTO                             12-17-2019
N-ANGER Y                     NEED - ANGER/HOSTILITY YES                                 01-30-2024
N-ANTISO Y                    NEED - ANTISOCIAL PEERS YES                                01-30-2024
N-COGNTV Y                    NEED - COGNITIONS YES                                      01-30-2024
N-DYSLEX N                    NEED - DYSLEXIA NO                                         05-30-2021
N-EDUC N                      NEED - EDUCATION NO                                        01-30-2024
N-FIN PV N                    NEED - FINANCE/POVERTY NO                                  01-30-2024
N-FM/PAR N                    NEED - FAMILY/PARENTING NO                                 01-30-2024
N-M HLTH N                    NEED - MENTAL HEALTH NO                                    01-30-2024
N-MEDICL N                    NEED - MEDICAL NO                                          01-30-2024
N-RLF Y                       NEED - REC/LEISURE/FITNESS YES                             01-30-2024
N-SUB AB Y                    NEED - SUBSTANCE ABUSE YES                                 01-30-2024
N-TRAUMA Y                    NEED - TRAUMA YES                                          01-30-2024
N-WORK Y                      NEED - WORK YES                                            01-30-2024
R-LW                          LOW RISK RECIDIVISM LEVEL                                  01-30-2024
FSA Comments
Mr. Martin has a Low Recidivism Risk Level, who is currently ineligible to apply Federal Time Credits. He has been reviewed with the following needs
areas: Work, Trauma, Substance Abuse, Family/Parenting, Anger/Hostility, Antisocial Peers, and Education. He has been recommended to participate
in Vocational Technical classes to address his work need.


Current Work Assignments

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Facl        Assignment         Description                                                   Start
POL         YARD PM            YARD DETAIL PM                                                02-28-2022
Work Assignment Summary
Mr. Martin is assigned to the Yard Orderly detail. He receives Satisfactory Work Evaluations from his Detail Supervisor.


Current Education Information
Facl     Assignment Description                                                              Start
POL         ESL HAS            ENGLISH PROFICIENT                                            06-07-2011
POL         GED HAS            COMPLETED GED OR HS DIPLOMA                                   09-30-2011
Education Courses
SubFacl Action                 Description                                                   Start                        Stop
POL          C                 PERSONAL GWTH - 7HABITS RPP6                                  03-16-2021                   08-17-2021
LEE          C                 SHU TURNING POINT                                             10-05-2020                   10-05-2020
LEE          C                 SHU TURNING POINT                                             09-22-2020                   09-22-2020
LEE          C                 SHU TURNING POINT                                             09-09-2020                   09-09-2020
LEE          C                 SHU TURNING POINT                                             08-25-2020                   08-25-2020
LEE          C                 SHU TURNING POINT                                             08-11-2020                   08-11-2020
LEE          C                 SHU TURNING POINT                                             07-29-2020                   07-29-2020
LEE          C                 SHU TURNING POINT                                             07-14-2020                   07-14-2020
LEE          C                 RPP6 VICTIM IMPACT PANEL                                      11-28-2018                   11-28-2018
LEE          C                 RPP6 VICTIM IMPACT PANEL                                      08-22-2018                   08-22-2018
LEE          C                 RPP6 VICTIM IMPACT PANEL                                      08-22-2018                   08-22-2018
LEE          C                 RPP6 PSYCH SELF STUDY                                         03-09-2018                   03-09-2018
LEE          C                 RPP6 PSYCH SELF STUDY                                         02-13-2018                   02-13-2018
LEE          C                 RPP1 AIDS AWARENESS                                           09-06-2017                   09-06-2017
LEE          C                 RPP5 RPP ORIENTATION                                          09-06-2017                   09-06-2017
LEW          C                 RPP2 MOCK JOB INTERVIEWS                                      04-27-2017                   04-27-2017
LEW          C                 RPP2 RESUME REFRESHER COURSE                                  04-10-2017                   04-24-2017
LEW          C                 21ST CENTURY MONEY                                            01-09-2017                   03-17-2017
LEW          C                 ACE CURRENT EVENTS                                            01-09-2017                   03-17-2017
CAA          C                 NUTRITION                                                     04-10-2012                   05-12-2012
CAA          C                 GENERAL WELLNESS                                              04-10-2012                   05-10-2012
Education Information Summary
Mr. Martin has completed his HS Degree/GED.


Discipline Reports
Hearing Date                   Prohibited Acts
** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Discipline Summary
Mr. Martin has not received any incident reports during this term of incarceration. His interaction with staff and other incarcerated individuals is
appropriate and no management concerns are noted at this time.


ARS Assignments
Facl       Assignment                      Reason                                            Start                        Stop
POL               A-DES                    TRANSFER RECEIVED                                 11-05-2020                   CURRENT
LEE CODE          A-DES                    TRANSFER RECEIVED                                 08-15-2017                   10-13-2020
LEW SMU           A-DES                    TRANSFER RECEIVED                                 05-16-2016                   08-07-2017
FLP               A-DES                    TRANSFER RECEIVED                                 03-27-2014                   05-13-2016
ATW               A-DES                    TRANSFER RECEIVED                                 11-27-2012                   03-12-2014
CAA               A-DES                    US DISTRICT COURT COMMITMENT                      06-01-2011                   11-05-2012
Current Care Assignments
Assignment           Description                                                             Start

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Assignment                    Description                                                 Start
CARE1                         HEALTHY OR SIMPLE CHRONIC CARE                              03-28-2014
CARE1-MH                      CARE1-MENTAL HEALTH                                         06-15-2011
Current Medical Duty Status Assignments
Assignment            Description                                                         Start
REG DUTY                      NO MEDICAL RESTR--REGULAR DUTY                              03-28-2014
YES F/S                       CLEARED FOR FOOD SERVICE                                    11-05-2020
Current PTP Assignments
Assignment          Description                                                           Start
CHG COMP                      CHALLENGE COMPLETED                                         05-21-2020
Current Drug Assignments
Assignment       Description                                                              Start
DAP NO INT              DRUG ABUSE PROGRAM NO INTEREST                                    08-17-2017
ED COMP                 DRUG EDUCATION COMPLETE                                           05-09-2014
Physical and Mental Health Summary
Mr. Martin is on regular duty medical status with no medical restrictions. Psychology staff has not expressed mental health concerns at this time. He
appears to be in good physical condition and stable mental health.


FRP Payment Plan
Most Recent Payment Plan
FRP Assignment:               NO OBLG          FINANC RESP-NO                                 Start: 04-19-2016
Inmate Decision:  AGREED       $50.00                                        Frequency: MONTHLY
Payments past 6 months:  $0.00                                      Obligation Balance: $0.00
Financial Obligations
No.        Type               Amount             Balance            Payable                            Status
1          ASSMT              $800.00            $65.00             IMMEDIATE                          EXPIRED
                                   ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **


Financial Responsibility Summary
Mr. Martin has No Obligation in the Inmate Financial Responsibility Program.


Release Planning
Mr. Martin has a Projected Release Date of June 18, 2058. He was sentenced out of the Eastern District of Tennessee. He plans to submit a
Supervised Release Relocation Request 18 months prior to his Projected Release Date. He intends to seek employment and will draft letters requesting
pre-employment information from potential employers. He will forward these letters and a current resume upon release from custody.



General Comments
Mr. Martin has established a good rapport with this Unit Team. In addition, Mr. Martin has obtained his social security card and is recommended to
secure his birth certificate in preparation for RRC placement, employment, and reintegration in the community.




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